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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                  PORTLAND DIVISION


OREGON CATTLEMEN’S ASSOCIATION,
                                                 Case No. 3:19-cv-00564-AC
                    Plaintiff,
    v.
                                                 DEFENDANT-INTERVENOR’S
                                                 RESPONSE IN OPPOSITION TO
                                                 PLAINTIFF’S SECOND MOTION FOR
                                                 PRELIMINARY INJUNCTION
UNITED STATES ENVIRONMENTAL
PROTECTION AGENCY; ANDREW
WHEELER, in his official capacity as
Administrator of the Environmental Protection

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Agency; UNITED STATES ARMY CORPS OF
ENGINEERS, and R.D. JAMES, in his official
capacity as Assistant Secretary for Civil Works,
Department of the Army,
                             Defendants,
       And


COLUMBIA RIVERKEEPER,
                             Intervenor-
                             Defendant.




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                                         INTRODUCTION

       The rule challenged by Plaintiff Oregon Cattlemen’s Association (“Cattlemen”) in this

case dramatically limits protections afforded by the Clean Water Act, stripping the Act’s

coverage from vast numbers of waters that have been protected for decades. Cattlemen now seek

to restrict the Act’s reach even further, asking this Court to take the extraordinary step of editing

the new rule to remove protections for all tributaries that do not “flow[] continuously year

round” and all wetlands that do not directly “abut” other protected waters on the surface. Pl.’s

Second Mot. for Prelim. Inj. (“Mot”) 7-8, ECF No. 97.

        Cattlemen do not satisfy any of the four factors necessary for preliminary injunctive

relief, much less the heightened standard necessary for the mandatory injunctive relief sought

here. First, Cattlemen’s claims are meritless. The claims are unsupported by the Supreme Court

and the courts of appeals, and are in conflict with the Clean Water Act’s broad mandate to

restore and protect the nation’s waters. Cattlemen also have not met the equitable requirements

for a preliminary injunction. Preserving the U.S. Environmental Protection Agency’s (“EPA”)

and U.S. Army Corps of Engineers’ (“Corps”) (collectively, the “Agencies”) pre-existing

practice of protecting the challenged waters under the Clean Water Act for the pendency of this

litigation would not cause the Cattlemen or its members harm, much less imminent, irreparable

harm. By contrast, the requested injunction would strip protections from waters that serve critical

public interests and ecological functions and that have generally been subject to Clean Water Act

coverage for more than forty years.




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                                          BACKGROUND

I.     CLEAN WATER ACT

       The Clean Water Act (“CWA” or the “Act”) is the primary federal law governing water

pollution in the United States. Its purpose is “to restore and maintain the chemical, physical, and

biological integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). The scope of the CWA’s

coverage determines which waters are protected by the Act’s programs and which are not. The

CWA itself provides that its jurisdiction extends to “navigable waters,” which Congress broadly

defined as “the waters of the United States, including the territorial seas.” See id. §§ 1251, 1321,

1342, 1344; see also id. § 1362(7).

       In carrying out Congress’ mandate, for nearly three decades, the Agencies have

implemented the CWA to broadly protect the nation’s waters, including tributaries and wetlands.

Prior to the promulgation of the 2015 Clean Water Rule, the core provisions of the regulatory

definition for “waters of the United States” had remained largely unchanged since 1979, defining

the term to include, among other things:

       (1) All waters which are currently used, were used in the past, or may be susceptible
       to use in interstate or foreign commerce, including all waters which are subject to
       the ebb and flow of the tide; (2) Interstate waters, including interstate wetlands; (3)
       All other waters such as intrastate lakes, rivers, streams (including intermittent
       streams), mudflats, sandflats and wetlands the use, degradation or destruction of
       which would affect or could affect interstate or foreign commerce . . . ; (4) All
       impoundments of waters otherwise defined as navigable waters under this
       paragraph; (5) Tributaries of waters identified in paragraphs (1)-(4) of this section,
       including adjacent wetlands; and (6) Wetlands adjacent to waters identified in
       paragraphs (1)-(5) of this section.

National Pollutant Discharge Elimination System; Revision of Regulations, 44 Fed. Reg. 32,854,

32,901 (June 7, 1979).




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II.     SUPREME COURT CASES

        The Supreme Court has long recognized that the Act’s protective reach must be broadly

interpreted in order to ensure the purpose of restoring and maintaining the biological, physical,

and chemical integrity of our Nation’s waters is fulfilled. For example, in United States v.

Riverside Bayview Homes, Inc., 474 U.S. 121, 132 (1985), the Supreme Court specifically noted

“the Act’s definition of ‘navigable waters’ as ‘the waters of the United States’ makes it clear that

the term ‘navigable’ as used in the Act is of limited import” because “Congress evidently

intended to repudiate limits that had been placed on federal regulation by earlier water pollution

control statutes . . . .” Id. at 133. The Court “recognize[d] that Congress intended to allow

regulation of waters that might not satisfy traditional tests of navigability . . .” Id. at 133; see also

Int’l Paper Co. v. Ouellette, 479 U.S. 481, 486 n.6 (1987) (noting that “navigable waters” has

been “construed expansively to cover waters that are not navigable in the traditional sense”). In

Riverside Bayview, the Court ultimately upheld the Act’s application to wetlands adjacent to

traditional navigable waters, observing that the Act incorporates a “broad, systemic view of the

goal of maintaining and improving water quality.” Riverside Bayview Homes, Inc., 474 U.S. at

132. The Court held the Act provides federal authority to regulate discharges into both traditional

navigable waters and wetlands adjacent to such waters. Id. at 131, 135. The Court explained that

in light of the “breadth of federal regulatory authority contemplated by the Act,” and the

difficulty of line-drawing in this context, the Corps’ ecological judgment that wetlands have

significant impacts on water quality and biological functions in adjacent waterways was

sufficient to deem such wetlands covered by the Act. Id. at 134. The Court also noted Congress’s

determination that “[p]rotection of aquatic ecosystems … demanded broad federal authority to

control pollution, for ‘[w]ater moves in hydrologic cycles and it is essential that discharge of

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pollutants be controlled at the source.’” Id. at 132-33 (quoting S. Rep. No. 92-414 at 77 (1971),

reprinted in 1972 U.S.C.C.A.N. 3668, 3742).

       The Court later reiterated the importance of a waterway’s impacts on downstream waters

when examining the Act’s scope in Solid Waste Agency of Northern Cook County v. U.S. Army

Corps of Engineers (“SWANCC”), 531 U.S. 159 (2001). In that case, the Court ruled that the

Agencies’ “Migratory Bird Rule” could not be used to extend the reach of the Act to an

abandoned sand and gravel pit. Id. at 162, 164. In the opinion, the Court distinguished the

wetlands at issue in Riverside Bayview from the sand and gravel pit at issue in SWANCC because

the gravel pit lacked the “significant nexus” that Riverside Bayview wetlands had with traditional

navigable waters. See id. at 167-68 (noting: “It was the significant nexus between the wetlands

and ‘navigable waters’ that informed our reading of the CWA in Riverside Bayview Homes.”).

However, the Court did not invalidate any portion of the federal regulations; it held only that the

regulations, “as clarified and applied to petitioner’s balefill site” under the Migratory Bird Rule,

exceeded the Corps’ authority. Id. at 174.

       Finally, in Rapanos v. United States, 547 U.S. 715 (2006), the Court issued a fractured

opinion with no majority. A four-Justice plurality authored by Justice Scalia proposed one test

for determining whether a particular feature is a “water of the United States;” Justice Kennedy,

concurring in the judgment, proposed another, commonly referred to as the “significant nexus”

test; and four dissenting Justices would have left the Agencies’ definition in place, but also said

they would uphold protection for waters satisfying either Justice Scalia’s or Justice Kennedy’s

test. Id. at 810 (Stevens, J., dissenting). Justice Kennedy’s “significant nexus” test would protect

wetlands with a significant nexus to waters traditionally considered navigable. Id. at 759, 787.

Such nexus exists where wetlands or other waters, “either alone or in combination with similarly

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situated lands in the region, significantly affect the chemical, physical, and biological integrity of

other covered waters more readily understood as ‘navigable.’” Id. at 780. Justice Scalia took a

much more restrictive view of the CWA, applying its protections only to “relatively permanent”

waters. Id. at 732. The Court remanded, for further review, the Corps’ application of the Act to

four wetlands “lying near ditches or man-made drains that eventually empty into traditional

navigable waters.” Id. at 715.

III.    CLEAN WATER RULE

        In 2015, the Agencies published the “Clean Water Rule,” which defined the term “waters

of the United States” under the CWA. 80 Fed. Reg. 37,054 (June 29, 2015). The rule, based upon

Justice Kennedy’s “significant nexus” test in Rapanos, was the first revision to regulations

interpreting “waters of the United States” in more than thirty years. 33 U.S.C. §§ 1251-388; 80

Fed. Reg. at 37,073-74. The Clean Water Rule identified three basic categories of waters: (1)

waters categorically protected under the CWA in all instances; (2) waters protected under the

CWA on a case-by-case showing of significant nexus; and (3) waters categorically excluded

from protection. The rule also contained various provisions that, for the first time, adopted

standardized definitions for key terms such as “tributary” and “adjacent.” 80 Fed. Reg. at 37,075-

86. Waters within these categories had historically been subject to jurisdiction under the CWA

and relevant case law, based on requirements in the CWA and case-specific jurisdictional

analyses by the Agencies demonstrating a “significant nexus” to an interstate water, traditional

navigable water, or territorial sea. See id. at 37,056.

        As the scientific foundation for the Clean Water Rule, the Agencies relied on a published

“synthesis of published peer-reviewed scientific literature discussing the nature of connectivity

and effects of streams and wetlands on downstream waters,” prepared by EPA’s Office of

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Research and Development, entitled “Connectivity of Streams and Wetlands to Downstream

Waters: A Review and Synthesis of the Scientific Evidence” (2015) (“Science Report”), ECF

No. 38-2. 79 Fed. Reg. 22,188, 22,189 (Apr. 21, 2014). In preparing the Science Report and the

rule, EPA reviewed more than 1,200 peer-reviewed scientific papers as well as other data and

information, including jurisdictional determinations, relevant agency guidance and

implementation manuals, and federal and state reports that addressed connectivity of aquatic

resources. The Science Report documented the extensive evidence demonstrating that tributaries

and wetlands play critical roles in maintaining the physical, chemical, and biological integrity of

downstream waters.

        Based on the evidence that was included in the Science Report, the Clean Water Rule

confirmed that the following waters should be categorically protected under the CWA in all

instances: “(i) All waters which are currently used, were used in the past, or may be susceptible

to use in interstate or foreign commerce, including all waters which are subject to the ebb and

flow of the tide; (ii) All interstate waters, including interstate wetlands; (iii) The territorial seas;

(iv) All impoundments of waters otherwise identified as waters of the United States under . . .

[the rule]; (v) All tributaries . . . of waters identified in . . . [the preceding sections of the rule];

[and] (vi) All waters adjacent to a water identified in . . . [the preceding sections of the rule],

including wetlands, ponds, lakes, oxbows, impoundments, and similar waters.” 80 Fed. Reg. at

37,114. 1




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  The Clean Water Rule also contained provisions categorically deeming certain waters “not
jurisdictional”—meaning not protected under the CWA—including certain “waste treatment
systems,” “prior converted cropland,” and water transfers. Id. at 37,073.

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       The Science Report found unequivocal consensus evidence that all tributaries—including

perennial, intermittent, and ephemeral streams—“exert a strong influence on the integrity of

downstream waters,” and that all tributaries have a significant nexus to navigable-in-fact waters,

interstate waters, and the territorial sea. Science Report at ES-2. One reason tributaries are so

important to downstream waters is that, to a large degree, tributaries determine the characters of

the water downstream—physically, chemically, and biologically. Id. at 3-45 to 3-46. Tributaries

supply initial flow to downstream waters like rivers, as well as the materials that form a river’s

bed and banks, such as sediment, and the materials that fill it, such as water, nutrients, and

organisms. See, e.g., id. at 3-47 tbl.3-1, 4-40 tbl.4-3. In some cases, they do this by filtering or

settling out, or delaying the delivery of, other materials like contaminants or floodwaters. Id. at

3-47 tbl.3-1, 4-40 tbl.4-3. Tributaries can also serve as nurseries or spawning areas during certain

times of the year for species that then migrate downstream later in their life stages, for example,

as part of migrating salmon lifecycles on both coasts. See, e.g., id. at ES-5, ES-13, 1-9, 2-40, and

2-44. Based on the findings of the Science Report and the Agencies, the Clean Water Rule

categorically protected all tributaries and defined the term “tributary” as “a water that contributes

flow, either directly or through another water[,]” to traditional navigable waters, interstate

waters, or the territorial seas, and that “is characterized by the presence of the physical indicators

of a bed and banks and an ordinary high water mark.” 79 Fed. Reg. at 22,189, 22,199; 80 Fed.

Reg. at 37,058-59, 37,065, 37,115.

       The Science Report also found clear evidence that wetlands and open waters in

floodplains are “highly connected” to tributaries and rivers “through surface water, shallow

ground water, and biological connectivity.” Science Report at ES-2, 4-1, 4-39. The report found,

too, that wetlands and open waters located outside of floodplains serve numerous functions such

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as floodwater storage, intercepting contaminants and filtering them through the roots of wetland

plants, replenishing water supplies, or biological functions for species dependent upon certain

hydrologic ecosystems, all benefitting downstream water integrity. Id. at ES-3, 4-20, 4-38, 4-11,

4-14. Based on the Science Report, the Agencies concluded that wetlands and waters in

floodplains should be categorically protected, and they broadly defined “adjacent wetlands” to

include those “bordering, contiguous, or neighboring a water [otherwise protected under the

regulation], including waters separated by constructed dikes or barriers, natural river berms,

beach dunes, and the like.” 80 Fed. Reg. at 37,058, 37,105.

        Based upon the findings in the Science Report, the Agencies also found that certain

categories of waters should be protected on a case-by-case basis when necessary to protect the

physical, chemical, or biological integrity of downstream waters and to serve the objectives of

the Act. The first category of waters eligible for case-specific determinations under the Clean

Water Rule included enumerated, ecologically specific types of wetlands—namely, prairie

potholes, Carolina and Delmarva bays, pocosins, Western vernal pools, and Texas coastal prairie

wetlands—that were considered ecologically similarly situated and combined within a watershed

for the purposes of determining a significant nexus. 80 Fed. Reg. at 37,114. Such waters would

meet the definition of “waters of the United States” under the rule if they were “determined, on a

case-specific basis, to have a significant nexus to a water” otherwise protected under the rule. Id.

The second category of waters eligible for a case-specific determination included “waters located

within the 100-year floodplain of . . . [another protected] water . . . and all waters located within

4,000 feet of the high tide line or ordinary high water mark of . . . [another protected] water . . .

where they are determined on a case-specific basis to have a significant nexus to [such] a

water[.]” See, e.g., id.

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IV.    NAVIGABLE WATERS RULE

       Under the current administration, the Agencies have abandoned the Clean Water Rule

and sought to replace it with a rule that substantially narrows the scope of the “waters of the

United States” that are protected under the CWA. On March 6, 2017, the Agencies announced

their intent to review, rescind, and revise the Clean Water Rule in a notice published in the

Federal Register. See Intention to Review and Rescind or Revise the Clean Water Rule, 82 Fed.

Reg. 12,532 (March 6, 2017). On July 27, 2017, the Agencies proposed to repeal the Clean

Water Rule and recodify the previous regulatory definition of “waters of the United States.” See

Definition of “Waters of the United States”—Recodification of Pre-existing Rules, 82 Fed. Reg.

34,899 (July 27, 2017). On November 22, 2017, the Agencies proposed to add an “applicability

date” to the Clean Water Rule, delaying the rule for a period of two years. See Definition of

“Waters of the United States”—Addition of an Applicability Date to 2015 Clean Water Rule, 82

Fed. Reg. 55,542 (Nov. 22, 2017). The applicability-date rule was finalized on February 6, 2018,

83 Fed. Reg. 5200, but an August 2018 order from the U.S. District Court for the District of

South Carolina and a November 2018 order from the U.S. District Court for the Western District

of Washington vacated that rule nationwide. S.C. Coastal Conservation League v. Pruitt, 318 F.

Supp. 3d 959 (D.S.C. 2018); Puget Soundkeeper Alliance v. Wheeler, 2018 WL 6169196 (W.D.

Wash. 2018). The Agencies published their final repeal rule on October 22, 2019, and it took

effect on December 23, 2019. See Definition of “Waters of the United States”—Recodification

of Pre-Existing Rules, 84 Fed. Reg. 56,626 (Oct. 22, 2019). Finally, on February 14, 2019, the

Agencies proposed a completely new definition of “waters of the U.S.” that would severely

curtail the scope of the CWA. See Revised Definition of “Waters of the United States,” 84 Fed.

Reg. 4154 (Feb. 14, 2019).

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       The Agencies published the final replacement regulation, called the “Navigable Waters

Protection Rule,” on April 21, 2020, with an effective date of June 22, 2020. See The Navigable

Waters Protection Rule: Definition of “Waters of the United States,” 85 Fed. Reg. 22,250,

22,338-39 (Apr. 21, 2020) (“Navigable Waters Rule”). The Navigable Waters Rule redefines the

waters that are protected by the CWA, limiting them to: (i) the territorial seas, and waters which

are currently used, or were used in the past, or may be susceptible to use, in interstate or foreign

commerce, including waters which are subject to the ebb and flow of the tide; (ii) tributaries; (iii)

lakes and ponds, and impoundments of jurisdictional waters; and (iv) adjacent wetlands. Id. at

22,338. The definition categorically excludes interstate waters from protection for the first time

in the Act’s history. Id. at 22,282–22,286. The rule defines waters that are categorically not

protected by the CWA as (i) waters or water features that are not specifically identified in the

rule as categorically jurisdictional; (ii) groundwater, including groundwater drained through

subsurface drainage systems; (iii) “ephemeral” features, including ephemeral streams, swales,

gullies, rills, and pools; (iv) diffuse stormwater run-off and directional sheet flow over uplands;

(v) ditches that are not waters identified elsewhere in the definition; and (xii) waste treatment

systems, among other waters. Id. at 22,338. The rule also has no provision for case-by-case

jurisdictional determinations, meaning that waters not expressly identified as protected will be

excluded from protection, even if they have a significant nexus to other waters protected under

the Act.

       The Navigable Waters Rule additionally limits protections under the Act by substantially

narrowing the definition of tributaries and providing new definitions of “ephemeral” and

“intermittent” tributaries. Citing Justice Scalia’s plurality opinion in Rapanos for support, the

regulation narrows the definition of “tributaries” to exclude all waters that are considered

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“ephemeral,” meaning waters that flow “only in direct response to precipitation” in a typical

year. Id. at 22,338-39. The rule only protects tributaries that are “perennial or intermittent in a

typical year.” Id. at 22,339. Intermittent tributaries are defined to mean “surface water flowing

continuously during certain times of the year and more than in direct response to precipitation

(e.g., seasonally when the groundwater table is elevated or when snowpack melts).” Id. at

22,338.

        The rule also narrows the definition of wetlands that are “waters of the United States,”

generally limiting protected wetlands to those that directly abut, on the surface and on at least

one point or side, another protected water. Id. The rule maintains protections for other wetlands

that are connected to protected waters under only three circumstances. First, connected wetlands

that are separated from a protected water by only a “natural berm, bank, dune or similar natural

feature” remain protected. Id. Second, wetlands that are separated from a protected water only by

an “artificial dike, barrier, or similar artificial structure” may be protected, but only if the barrier

allows for a direct surface-water connection to the protected water in a typical year through a

culvert, flood or tide gate, or pump. Id. at 22,338. Finally, wetlands that are inundated by

flooding by a protected water are protected, but only if that flooding occurs in a “typical year.”

Id. The rule’s restrictions will result in important wetlands losing long-guaranteed CWA

protections.

V.      CATTLEMEN’S MOTION FOR PRELIMINARY INJUNCTION

        In promulgating the Navigable Waters Rule, the Agencies have unlawfully narrowed the

tributary and wetlands protections that have been in place for decades, rather than impose new

permitting requirements for these waters. See 44 Fed. Reg. at 32,901 (1979 regulations noting the

protection of tributaries and adjacent wetlands). Yet, Cattlemen challenge coverage for many of

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the types of tributaries and wetlands that retained their long-standing protections in this rule,

seeking to even further constrict the scope of federal protections. Mot. 8. Specifically, Cattlemen

seek to enjoin the portion of the tributary definition that protects “intermittent” tributaries, as

well as the portion of the wetlands definition that protects wetlands that are connected to other

protected waters but separated by only natural features, or that have a surface connection to other

protected waters in a typical year through an artificial feature or via floodwaters (hereinafter the

“challenged waters”). Id.

                                     STANDARD OF REVIEW

        A preliminary injunction is “an extraordinary and drastic remedy, one that should not be

granted unless the movant, by a clear showing, carries the burden of persuasion.” Lopez v.

Brewer, 680 F.3d 1068, 1072 (9th Cir. 2012) (quoting Mazurek v. Armstrong, 520 U.S. 968, 972

(1997)). “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed

on the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that

the balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.

Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). Each of these factors, moreover, must be

supported by a “clear showing.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35

(9th Cir. 2011); Mazurek, 520 U.S. at 972.

        Because Cattlemen do not request maintenance of the status quo and instead seek to

essentially rewrite the Navigable Waters Rule, they seek a mandatory injunction—a form of

relief that is “particularly disfavored.” Stanley v. University of Southern California, 13 F.3d

1313, 1320 (9th Cir. 1994) (quoting Anderson v. U.S., 612 F.2d 1112, 1114 (9th Cir. 1979)). The

preliminary injunction standard is further heightened when the type of injunction sought is a

mandatory one. Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (noting that the burden

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is “doubly demanding” for a mandatory injunction). To obtain a mandatory injunction, a plaintiff

must “establish that the law and facts clearly favor” its position, not simply that it is “likely to

succeed.” Id.

                                            ARGUMENT

       Cattlemen fail to demonstrate a likelihood of success on the merits or irreparable harm, or

to show that the balance of equities or public interest tip sharply in its favor.

I.     CATTLEMEN ARE NOT LIKELY TO SUCCEED ON THE MERITS.

       The first factor plaintiffs must fulfill in order to obtain a preliminary injunction is a

demonstration of a likelihood of success on the merits. Winter, 555 U.S. at 20. In order to

succeed on the merits here, Cattlemen must demonstrate that the Navigable Waters Rule’s

limited protections for the challenged waters are contrary to law. 2 Cattlemen have made no such

showing. The provisions that Cattlemen seek to enjoin are amply supported by the plain text of

the CWA and its legislative history, as well as Supreme Court precedent and decisions from the

courts of appeals.

       A.       The Clean Water Act and its Legislative History Support the Broad Protection of
                the Nation’s Waters.

       The Agencies’ severe narrowing of the term “waters of the United States” in the

Navigable Waters Rule is not supported by the text and legislative history of the CWA, and


2
 In a comment letter on the proposed Navigable Waters Rule submitted by the National
Cattlemen’s Beef Association (joined by the Oregon Cattlemen Association), Cattlemen took a
different position. Cattlemen did not make any arguments that the challenged provisions are
unlawful, and instead simply sought clarification of some aspects of the definitions. See Public
Comments of the Nat’l Cattlemen’s Beef Ass’n at 8–9 (urging the Agencies to “clarify” and
“strengthen[]” the intermittent tributary definition), 13–14 (stating that the wetlands definitions
comply with Supreme Court precedent and urging the Agencies to clarify some aspects of the
definitions), available at https://www.regulations.gov/document?D=EPA-HQ-OW-2018-0149-
4673.
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Cattlemen’s attempt to further restrict the scope of the CWA is similarly at odds with Congress’

intent to broadly protect the Nation’s waters.

               1.      Congress Passed The Clean Water Act Because States Had Failed To
                       Adequately Protect Waters.

       The CWA was the culmination of years of failed efforts by states to protect and clean up

the Nation’s waters through the implementation of state-based water quality standards. S. Rep.

No. 92-414 at 7, reprinted in 1972 U.S.C.C.A.N. at 3672; James Salzman & Barton H.

Thompson, Jr., Envtl. L. and Pol’y 141 (2d ed. 2007); see also Robert L. Glicksman & Matthew

R. Batzel, Science, Politics, Law, and the Arc of the Clean Water Act, 32 Wash. U. J. L. & Pol’y

099, 102-03 (2010). At the time of the passage of the CWA, half of the states had not adopted

standards and there was little to no implementation of limits or enforcement. See Glicksman,

supra, at 102; see also EPA v. California ex rel. St. Water Resources Control Bd., 426 U.S. 200,

202-09 (1976); Am. Paper Inst., Inc. v. EPA, 890 F.2d 869, 870-71 (7th Cir. 1989). Congress

realized that a national strategy and system of requirements—a federal “floor”—would be

necessary to ensure that waters would be cleaned up and protected into the future. See

Glicksman, supra, at 102. Against this backdrop, Congress passed the CWA with the broad

purpose and intent to “restore and maintain the chemical, physical, and biological integrity of the

Nation’s waters.” 33 U.S.C. § 1251(a).

               2.      Congress Intended to Broadly Protect all “Waters of the United States.”

       In developing a law that would provide more consistent and comprehensive protections to

waters across the Nation, Congress broadly defined “navigable waters” to mean “waters of the

United States.” 33 U.S.C. § 1362(7). As the law’s conference report emphasized, “the conferees

fully intend that the term ‘navigable waters’ be given the broadest possible constitutional

interpretation unencumbered by agency determinations which have been made or may be made
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for administrative purposes.” CONG. RESEARCH SERV., A LEGISLATIVE HISTORY OF THE

WATER POLLUTION CONTROL ACT AMENDMENTS OF 1972, Senate Consideration of the Rpt. of

the Conference Committee at 178 (Oct. 4, 1972). In fact, the Senate Committee on Public Works

“was reluctant to define” the term “navigable waters” based “on the fear that any interpretation

would be read narrowly[,]” and it reiterated that it “fully intend[ed] that the term ‘navigable

waters’ be given the broadest possible constitutional interpretation.” Id. at 818.

          In directing the broadest possible protections, Congress relied on science demonstrating

the interconnectedness of waters and the need to ensure that aquatic ecosystems as a whole are

protected in order to fulfill the Act’s purpose, especially waters upstream of traditional navigable

waters. Congress recognized that “[w]ater moves in hydrological cycles and it is essential that

discharge of pollutants be controlled at the source.” S. Rep. No. 92-414 at 77 (1971) (emphasis

added).

          Cattlemen’s attempt to limit the Act’s protection to only perennial tributaries and directly

abutting wetlands conflicts with Congress’ clear intent to broadly protect upstream waters and

tributaries in order to ensure the integrity of downstream waters.

          B.     Justice Scalia’s Plurality Opinion is not the Controlling Rule from Rapanos.

          Cattlemen seek to enjoin the challenged provisions by asserting that the Scalia plurality is

the lone rule of law that derives from Rapanos. 3 Mot 13-28. Not so. As explained below, the

Ninth Circuit has specifically adopted Justice Kennedy’s “significant nexus” test as the rule that

came out of Rapanos. In addition, none of the Supreme Court cases cited by Cattlemen are on



3
 Cattlemen’s confusing argument that issue preclusion dictates their success on the merits, Mot.
11-13, is inapplicable because neither the Rapanos court nor any other court has held that the
Agencies lack the authority to protect the challenged waters under the CWA.

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point or stand for the proposition that Justice Scalia’s opinion alone controls, and none of the

courts of appeals that have addressed the question have come to this conclusion.

       In Rapanos, the Court remanded for further review the Corps’ determination that certain

wetlands adjacent to non-navigable waters were “waters of the United States.” 547 U.S. at 729,

757, 759. A four-Justice plurality authored by Justice Scalia devised a jurisdictional test based on

the permanence of flow, while again recognizing that the Act applies more broadly to waters

beyond “traditionally navigable” waters. Id. at 757 (plurality opinion). Justice Kennedy’s

concurring opinion employed the “significant nexus” test, where waters are protected if they

have a significant nexus to traditionally navigable waters. Id. at 759 (Kennedy, J., concurring in

the judgment). The four dissenting Justices would have deferred to the Corps’ existing

regulations as the proper test, but they also would have protected waters that meet either Justice

Kennedy or Justice Scalia’s test. Id. at 810 (Stevens, J., dissenting).

       Under the Supreme Court’s Marks doctrine, “[w]hen a fragmented Court decides a case

and no single rationale explaining the result enjoys the assent of five Justices, the holding of the

Court may be viewed as that position taken by those Members who concurred in the judgments

on the narrowest grounds.” Marks v. United States, 430 U.S. 188, 193 (1977). The Ninth Circuit

has directly addressed which opinion from Rapanos is the narrowest ground under the Marks

doctrine. In City of Healdsburg, the Ninth Circuit found that Justice Kennedy’s concurrence

in Rapanos—not Justice Scalia’s plurality opinion—controls under a Marks analysis. Northern

Cal. River Watch v. City of Healdsburg, 496 F.3d 993, 995 (9th Cir. 2007). The Ninth Circuit

held that because the “significant nexus” test is “the narrowest ground to which a majority of the

Justices would assent if forced to choose in almost all cases, . . . Justice Kennedy’s concurrence

provides the controlling rule of law[.]” Id. at 999–1000; see also United States v. Moses, 496

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F.3d 984, 990 (9th Cir. 2007) (discussing Justice Kennedy’s “opinion as the controlling rule of

law”); San Francisco Baykeeper v. Cargill Salt Div., 481 F.3d 700, 707 (9th Cir. 2007) (referring

to Justice Kennedy’s “controlling concurrence”).

       The Ninth Circuit’s opinion in United States v. Davis, cited by Cattlemen, did not

reach—and does not require— a different result. Cf. Mot. 15-26. There, the court adopted a

“reasoning-based approach to applying Marks.” United States v. Davis, 825 F.3d 1014, 1021 (9th

Cir. 2016) (en banc). The court found:

       [W]hen applying Marks to a fractured Supreme Court decision, we look to those
       opinions that concurred in the judgment and determine whether one of those
       opinions sets forth a rationale that is the logical subset of other, broader opinions.
       When, however, no “common denominator of the Court’s reasoning” exists, we are
       bound only by the “specific result.”

Id. at 1028. The Davis court made no mention of the application of Marks to Rapanos.

       In a case not cited by Cattlemen, the Ninth Circuit has considered and expressly rejected

Cattlemen’s argument that City of Healdsburg no longer controls as a result of Davis. In United

States v. Robertson, the court held that City of Healdsburg “remains valid and binding

precedent” after Davis. United States v. Robertson, 875 F.3d 1281, 1292 (9th Cir. 2017), cert.

granted, judgment vacated on other grounds, 139 S. Ct. 1543 (2019). Specifically, the Robertson

court found that Davis did not foreclose consideration of a dissent as the “broader opinion” in a

Marks analysis, and in Rapanos, “[b]oth the plurality and Justice Kennedy’s opinions can be

viewed as subsets of Justice Stevens’s dissent because both narrow the scope of federal

jurisdiction.” Id. The court went on to reaffirm that Justice Kennedy’s concurrence “is narrower

than the plurality opinion because it restricts federal authority less.” Id. Though the decision in

Robertson was vacated by the Supreme Court on unrelated mootness grounds, the Ninth Circuit’s

reasoning is persuasive and should be applied by this Court. See United States v. Clark, 617 F.2d

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180, 184 n.4 (9th Cir. 1980) (holding that where reasoning on a precise issue is not invalidated

by a Supreme Court vacatur, it remains persuasive and may be adopted by subsequent courts).

        Neither the Supreme Court nor any court of appeals has endorsed the Cattlemen’s

misguided view that the narrowest holding is that which restrains federal jurisdiction to the

greatest extent. See Mot. 17-22. To the contrary, courts considering Rapanos have held that the

narrowest holding is the holding that restricts federal authority the least, or that would result in

the slightest change to the existing law. See Rapanos, 547 U.S. at 810 n.14 (Stevens, J.,

dissenting) (“I assume that Justice Kennedy’s approach will be controlling in most cases because

it treats more of the Nation’s waters as within the Corps’ jurisdiction[.]”); United States v.

Robison, 505 F.3d 1208, 1221 (11th Cir. 2007) (“The issue becomes whether the definition of

‘navigable waters’ in the plurality or concurring opinions in Rapanos was less far-reaching (i.e.,

less-restrictive of CWA jurisdiction).”); United States v. Gerke, 464 F.3d 723, 724-25 (7th Cir.

2006) (finding that Justice Kennedy’s “test is narrower (so far as reining in federal authority is

concerned) than the plurality’s in most cases”); see also United States v. Cundiff, 555 F.3d 200,

209 (6th Cir. 2009) (“Marks does not imply that the ‘narrowest’ Rapanos opinion is whichever

one restricts jurisdiction the most.”).

        In addition to the Ninth Circuit, every other circuit court that has addressed the issue of

CWA jurisdiction following Rapanos has either applied only Justice Kennedy’s “significant

nexus” analysis or found that waters that meet either Justice Kennedy’s or Justice Scalia’s

approach are “waters of the United States” protected by the CWA. United States v. Bailey, 571

F.3d 791, 799 (8th Cir. 2009); see also Cundiff, 555 F.3d at 210 (Sixth Circuit opinion finding if

either plurality or Justice Kennedy’s test is met, there is a “water of the United States”); United

States v. Johnson, 467 F.3d 56, 65 (1st Cir. 2006) (same); Gerke, 464 F.3d at 724 (Seventh

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Circuit opinion looking to “significant nexus” standard as the governing standard); Robison, 505

F.3d at 1222 (Eleventh Circuit opinion noting same); United States. v. Lucas, 516 F.3d 316, 327

(5th Cir. 2008) (same); United States v. Donovan, 661 F.3d 174, 182 (3d Cir. 2011) (same);

Precon Dev. Corp., Inc. v. U.S. Army Corps of Engineers, 633 F.3d 278, 289-90 (4th Cir. 2011)

(parties agree and court adopts Justice Kennedy “significant nexus” test, approving of Corps

definition of “adjacent”).

       In claiming otherwise, Cattlemen cite to a string of irrelevant Supreme Court decisions,

none of which address the issue at hand. See Mot. 3-15. Many of the cases cited by Cattlemen do

not even concern the CWA at all. Mot. 15. Those that do address the CWA and cite to the

Rapanos plurality do so solely to support statements of fact rather than statements of law, to

explain the case’s procedural posture, or to allude briefly to dicta in the case. See, e.g., U.S. Army

Corps of Engineers v. Hawkes Co., 136 S. Ct. 1807 (2016) (citing solely to statements of fact

that appear in the Rapanos plurality, not to legal findings); Nat’l Ass’n of Mfrs. v. Dep’t of Def.,

138 S. Ct. 617, 625 (2018) (citing to statements of fact in the Rapanos plurality and explaining

that the Supreme Court remanded the case); see also PPL Montana, LLC v. Montana, 565 U.S.

576, 592 (2012) (citing to Justice Kennedy’s concurrence in Rapanos). None of the cases cited

by Cattlemen state or suggest that the plurality is the controlling opinion from Rapanos. In fact,

the Supreme Court has emphasized, post-Rapanos, that no single opinion in Rapanos

commanded a majority of the Court. See Sackett v. EPA, 566 U.S. 120, 123-24 (2012).

       Cattlemen also puzzlingly point to the Court’s recent opinion in County of Maui, Hawaii

v. Hawaii Wildlife Fund, 140 S. Ct. 1462 (2020), to support its assertion that the Scalia plurality

is the controlling Rapanos opinion. Mot. 13-15. But the Court in Maui did not even address the

scope of “navigable waters” under the statute, much less decide which Rapanos opinion is

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controlling. See Cty. of Maui, 140 S. Ct. at 1462. Therefore, Cattlemen’s approach to Rapanos

has no support in Supreme Court jurisprudence and would flout Ninth Circuit precedent and the

conclusion of every other circuit that has addressed the controlling rule of law from Rapanos.

       C.      The Agencies have the Authority to Protect the Challenged Waters Under Either
               Justice Kennedy’s Opinion or Justice Scalia’s Opinion from Rapanos.

       Regardless of which test controls from Rapanos, Cattlemen are not likely to succeed on

the merits because neither test precludes the Agencies from protecting the waters challenged by

Cattlemen.

               1.      Justice Scalia Plurality

       Cattlemen argue they are entitled to a preliminary injunction because Scalia’s plurality

opinion controls, but they utterly fail to actually apply the opinion to the provisions they

challenge, or otherwise explain why the opinion forbids protection of the challenged waters as

defined in the rule. Just as well: even if Justice Scalia’s test provided the controlling rule—which

it does not—Cattlemen’s legal position would still fail because Justice Scalia’s plurality opinion

simply does not address the precise regulatory definitions Cattlemen seek to enjoin here.

       Under the standard outlined in Justice Scalia’s opinion, tributaries fall within the scope of

CWA when they are “relatively permanent, standing or flowing bodies of water.” Rapanos, 547

U.S. at 732-33. Justice Scalia held, however, that the term “relatively permanent” does not

exclude streams, rivers, or lakes that might dry up in extraordinary circumstance, nor does it

exclude seasonal rivers that contain continuous flow during some months of the year but no flow

during dry months. Id. at 733 n.5. Because Justice Scalia recognized the validity of protecting

seasonal waters and specifically left open the question of “when the drying-up of a streambed is

continuous and frequent enough to disqualify the channel as a ‘wate[r] of the United States,’” his


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test does not foreclose regulation of intermittent tributaries, defined in the rule as “surface water

flowing continuously during certain times of the year and more than in direct response to

precipitation (e.g., seasonally . . .).” 85 Fed. Reg. at 22,338.

        Similarly, to establish protections over wetlands under Justice Scalia’s test, wetlands

must have a “continuous surface connection” with a “water of the United States” such that they

are adjacent to a protected water. Rapanos, 547 U.S. at 741-41. But the opinion did not preclude

protection of the types of wetlands challenged here—connected wetlands that are separated by

only natural features, or that have a surface connection in a typical year through an artificial

feature or via floodwaters. Thus, the challenged regulatory provisions are not foreclosed by the

Scalia plurality in Rapanos.

                2.      Justice Kennedy Concurrence

        Under Justice Kennedy’s concurrence in Rapanos, the Agencies are well within their

authority to protect the types of waters Cattlemen seek to exclude from the Act’s scope. As

previously explained, Justice Kennedy concluded that the Act protects waters with a “significant

nexus” to waters traditionally considered navigable. 547 U.S. at 759, 787. Such nexus exists

where the water, including wetlands, “either alone or in combination with similarly situated

lands in the region, significantly affect the chemical, physical, and biological integrity of other

covered waters more readily understood as ‘navigable.’” Id. at 780. Justice Kennedy

acknowledged that so-called “isolated” wetlands may be protected by the Act, singly or in

combination with similarly situated wetlands, as they may significantly affect other covered

waters “more readily understood as ‘navigable,’” and that the Corps may properly determine that

proximity, volume of flow (annually or on average), or other relevant considerations form the

foundation for protecting a wetland under the Act. Id. at 780. Similarly, Justice Kennedy noted

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that wetlands separated by land from another waterway can be vital to that waterway: if such a

wetland is destroyed, “floodwater, impurities, or runoff that would have been stored or contained

in the wetlands” could instead “flow out to major waterways.” Id. at 775. Justice Kennedy also

described the plurality’s attempt to impose a continuous flow requirement on tributaries as

making little sense, because “torrents thundering at irregular intervals through otherwise dry

channels,” which could significantly affect downstream waterways, would then not be covered

by the protections in the Act. Id. at 769. Justice Kennedy rightly gave effect to Congress’ intent

to have science, particularly hydrology, guide the application of the Act.

         Cattlemen make the extraordinary argument that if this Court finds the Kennedy

concurrence controls, the court should preliminarily order the Agencies to effectively rewrite the

rule to require the Corps to make case-by-case jurisdictional determinations of CWA coverage

for the waters they challenge, instead of allowing categorical protection. Mot. 28. Setting aside

the propriety of such an unusual form of mandatory injunctive relief, Justice Kennedy clearly

envisioned categorical protection of waters. Rapanos, 547 U.S. at 780-81. Justice Kennedy

specifically concluded that waters could be shown to have a “significant nexus” on a categorical

basis, and all water bodies within those categories should be protected, provided that the majority

of waters in the class influence downstream water quality. Id. He explained that “[t]he Corps

may choose to identify categories of tributaries that, due to their volume of flow (either annually

or on average), their proximity to navigable waters, or other relevant considerations, are

significant enough that wetlands adjacent to them are likely, in the majority of cases, to perform

important functions for an aquatic system incorporating navigable waters.” Id. (emphasis added).

This categorical approach follows that of the unanimous Court in Riverside Bayview, which

noted:

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       If it is reasonable for the Corps to conclude that in the majority of cases, adjacent
       wetlands have significant effects on water quality and the aquatic ecosystem, its
       definition can stand. That the definition may include some wetlands that are not
       significantly intertwined with the ecosystem of adjacent waterways is of little
       moment, for where it appears that a wetland covered by the Corps’ definition is in
       fact lacking in importance to the aquatic environment—or where its importance is
       outweighed by other values—the Corps may always allow development of the
       wetland for other uses simply by issuing a permit.

474. U.S. at 135 n.9 (emphasis added). The provisions challenged by Cattlemen follow this

categorical approach to defining waters with a significant nexus to traditionally navigable waters,

and are therefore consistent with and lawful under Kennedy’s concurrence.

II.    CATTLEMEN FAIL TO SHOW HARM, MUCH LESS IRREPARABLE HARM,
       FROM THE CHALLENGED PROVISIONS.

       In addition to demonstrating a likelihood of success on the merits, plaintiffs seeking a

preliminary injunction must also demonstrate that irreparable harm is likely to result from the

rule or application in question. Cottrell, 632 F.3d at 1134-35. As the Supreme Court has

clarified, “plaintiffs seeking preliminary relief [must] demonstrate that irreparable injury is likely

in the absence of an injunction.” Winter, 555 U.S. at 22 (rejecting a “possibility of irreparable

harm” standard). Injury sufficient to satisfy the irreparable harm standard must be actual and

imminent, and it is the movant’s burden to so demonstrate. Cottrell, 632 F.3d at 1135.

“[S]peculative injury does not constitute irreparable injury sufficient to warrant granting a

preliminary injunction.” Boardman v. Pacific Seafood Grp., 822 F.3d 1011, 1022 (9th Cir. 2016)

(quotation marks omitted). Financial injury is also generally insufficient to support preliminary

injunctive relief. Goldie’s Bookstore, Inc. v. Superior Ct. of St. of Cal., 739 F.2d 466, 472 (9th

Cir. 1984).




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       A.      Cattlemen Have Not Demonstrated the Challenged Provisions Will Cause Any
               Harm.

       Cattlemen seek an unusual cherry-picked partial injunction of a rule that already

unlawfully and severely curtails protections afforded by the CWA. To support this extraordinary

request for injunctive relief, Cattlemen provide no evidence of actual, specific harms that would

occur in the absence of the requested preliminary injunction. Cattlemen’s speculative and vague

allegations are not sufficient to demonstrate any harm, let alone the kind of likely, imminent, and

irreparable harm necessary to support a preliminary injunction.

       Cattlemen’s lone new declaration from Mr. Rosa is primarily an inadequate

organizational declaration, addressing only the Cattlemen’s interest in, and general

dissatisfaction with, the challenged provisions, while providing no information about any

discrete harm that could stem from the regulation of the challenged waters. Mr. Rosa’s

declaration is rife with unsupported, wildly general, and speculative assertions. Mr. Rosa states

that he is “familiar with water features” on “properties throughout the state,” “most” of which

“have intermittent drainages and/or non-abutting wetland features.” Rosa Decl. 3 ¶ 6, ECF No.

97-4. But Mr. Rosa fails to identify any specific example of such waters anywhere in the state.

Mr. Rosa also claims, vaguely, that some of Cattlemen’s members will potentially have to get

permits for polluting unspecified waters on their properties. But even if Mr. Rosa had identified a

specific water body that falls into one of the challenged categories, which he did not, CWA

permits have generally been required for those types of waters for decades. See 44 Fed. Reg. at

32,901 (1979 regulations noting the protection of tributaries and adjacent wetlands). Therefore,

the challenged rule, which imposes no new permitting requirements on these waters, cannot




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possibly cause this kind of alleged harm, much less imminent harm. 4 Moreover, such permitting

would constitute financial “harm” at most, which is generally insufficient to satisfy the

irreparable harm standard. Goldie’s Bookstore, Inc., 739 F.2d at 472. Cattlemen have not, and

cannot, credibly claim that any actual harm will imminently ensue absent the issuance of a

preliminary junction in this case.

       Cattlemen’s confusing attempt to compensate for the inadequacy of its sole declaration

by citing earlier declarations in this case allegedly demonstrating harm from an entirely different

rule—the Clean Water Rule—fares no better. Mot. 31-33. These declarations are irrelevant to the

present requested injunction because they do not address harm stemming from the provisions

challenged by Cattlemen here. Even if they did address the Navigable Waters Rule provisions,

which they do not, Columbia Riverkeeper has previously explained why they, too, failed to

demonstrate imminent or irreparable harm caused by the Clean Water Rule. See Amicus Brief of

Columbia Riverkeeper at 30-33, ECF No. 38; Supp. Amicus Brief of Columbia Riverkeeper at 3-

6, ECF No. 48.

       B.      Cattlemen Will Not Suffer Irreparable Constitutional Harm.

       Without submitting any supporting declarations, Cattlemen assert that the challenged

provisions inflict irreparable constitutional injury on its members simply because Cattlemen

allege claims under the Commerce Clause and Tenth Amendment. Mot. 30-34. Cattlemen rely on




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  It is generally recognized that a “long delay before seeking a preliminary injunction implies a
lack of urgency and irreparable harm.” Oakland Tribune, Inc. v. Chronicle Publishing Co., 762
F.2d 1374, 1377 (9th Cir. 1985). Thus, a plaintiff’s delay may “undercut” its claim of irreparable
harm. Garcia, 786 F.3d at 746. “By sleeping on its rights a plaintiff demonstrates the lack of
need for speedy action.” Lydo Enters., Inc. v. City of Las Vegas, 745 F.2d 1211, 1213 (9th Cir.
1984) (internal quotation omitted).

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little more than bare assertion to bolster its constitutional claims, falling far short of the clear

irreparable harm showing required. In any case, Cattlemen is wrong on the law because

the Constitution grants Congress authority to regulate interstate commerce, U.S. Const., art. I, §

8, and the challenged waters fall comfortably within this authority.

        Congress’s Commerce Clause authority unquestionably extends to the regulation of

waters that are themselves navigable—by definition, channels of commerce. See Nat’l Fed’n of

Indep. Bus. v. Sebelius, 567 U.S. 519, 536 (2012) (Congress may regulate “the channels of

interstate commerce”); PPL Montana, LLC, 565 U.S. at 592 (waters are “navigable in fact” when

they are or may be used “as highways for commerce”); see also Utah v. United States, 403 U.S.

9, 10-11 (1971) (waters may be “highways for commerce” even if not interstate); United States

v. Ashland Oil & Transp. Co., 504 F.2d 1317, 1325-26 (6th Cir. 1974) (water pollution is “a

direct threat to navigation”). By extension, the regulation of waters that significantly affect

navigable and interstate waters is also within the authority granted to Congress to regulate

channels of commerce. See Rapanos, 547 U.S. at 776 (Kennedy, J., concurring) (explaining that

in SWANCC, the requirement of a “significant nexus” to navigable waters avoided constitutional

difficulties and federalism concerns); id. at 782-83 (citing Supreme Court case law

explaining, inter alia, that regulation of tributaries may be required in order to manage a

navigable water); Ashland Oil, 504 F.2d at 1326 (Congress may regulate non-navigable stretches

of a river to preserve commerce on the navigable portions); id. at 1326-28 (federal authority to

preserve navigable waters must extend to tributaries of such rivers, lest they become “a mere

conduit for upstream waste”). The waters challenged here have a significant impact on the

downstream channels of commerce, and therefore squarely fall within Congress’s commerce

power. See, e.g., 80 Fed. Reg. at 37,079 (explaining, for example, that “tributaries as a group

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exert strong influence on the chemical, physical, and biological integrity of downstream waters .

. . [t]hese significant effects on traditional navigable waters, interstate waters, and the territorial

seas occur even when the tributary is small, intermittent, or ephemeral”).

        Cattlemen do not dispute these core principles and offer little to no argument on the

merits of its Commerce Clause or Tenth Amendment claims, stating only that by alleging a

Constitutional claim, they are presumably entitled to a preliminary injunction. That is not the

law. See, e.g., Assoc. Gen’l Contractors of Cal., Inc. v. Coal. for Econ. Equity, 950 F.2d 1401,

1410 (9th Cir. 1991). Even if Cattlemen reasonably set forth a constitutional claim, that claim

must be supported by facts and law, and it does not relieve Cattlemen of making a vigorous

showing of irreparable harm tied to that constitutional claim.

III.    THE BALANCE OF HARMS AND PUBLIC INTEREST TIP SHARPLY IN FAVOR
        OF DENYING THE REQUEST FOR INJUNCTIVE RELIEF.

        While Cattlemen fail to make a demonstration of actual and immediate harm, much less

irreparable harm, from the challenged regulation, the pollution or destruction of many Oregon

waterbodies that would result from this injunction is real, significant, imminent, and potentially

permanent. The preliminary injunction standard requires that injunctions only be granted when

“the balance of equities tips in their favor; and [] a preliminary injunction is in the public

interest.” Sierra Forest Legacy v. Rey, 577 F.3d 1015, 1021 (9th Cir. 2009) (citing Winter, 555

U.S. at 19). However, the equities and public interest weigh heavily against an injunction in this

case.

        A.      The Harms Caused by the Unpermitted Pollution and Destruction of the
                Challenged Waters Would be Significant.

        Cattlemen ask this Court to craft capacious new CWA loopholes for intermittent

tributaries and many wetlands connected to other protected waters—waters that have generally

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been protected by the Act for decades. If Cattlemen’s requested injunction is granted, the harms

to Oregon waters caused by the removal of CWA protections would be profound.

       If the Act does not apply to a tributary or wetland, the prohibitions on discharges of

pollution and dredge and fill activities, and the accompanying permitting processes, do not apply.

See 33 U.S.C. § 1311(a); 33 U.S.C. § 1342; 33 U.S.C. § 1344(a). Therefore, enjoining the

challenged provisions will result in these waters losing the protection of these permitting

programs, harming both the unprotected waters and downstream waters.

       The Agencies’ own economic analysis accompanying the Navigable Waters Rule already

predicts wide-ranging harms resulting from the rule, even without stripping protections for the

additional waters Cattlemen seek to carve out of the Act. For example, the analysis admits that

the expected increases in water pollution caused by the rule will, among other things, increase

sediment concentrations in waters, leading to increased needs for dredging of reservoirs and

drinking water treatment costs. See EPA, Economic Analysis for the Navigable Waters

Protection Rule: Definition of “Waters of the United States,” at 105, Fig. III-9 (Jan. 22, 2020),

available at https://www.epa.gov/sites/production/files/2020-01/documents/econ_analysis_-

_nwpr.pdf. The Agencies also explain that the reduction in protections could lead to less

stringent permit limits for point sources of pollution, which “could result in reduced protection

for aquatic ecosystems and public health and welfare.” Id. at 106. The Agencies further

acknowledge that the newly unprotected ephemeral streams “support a variety of ecosystem

services,” and are important for replenishing groundwater for irrigation and drinking water

supplies for communities in the arid western U.S. Id. at 107. The multitude of predicted

environmental and economic harms are summarized in the below figure from the Agencies’

economic analysis:

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Fig. 1: Illustration of predicted environmental and economic impacts from the Navigable Waters
Rule. Source: EPA, Economic Analysis for the Navigable Waters Protection Rule: Definition of
“Waters of the United States,” at 105, Fig. III-9 (Jan. 22, 2020),
https://www.epa.gov/sites/production/files/2020-01/documents/econ_analysis_-_nwpr.pdf

Despite these acknowledged environmental and economic harms from the Navigable Waters

Rule, Cattlemen claim the rule should exclude even more waters from protection. Such a

stripping of protections from significant additional categories of waters can only magnify and

expand the harms predicted by the Agencies. 5



5
  The harm would not be limited in scope. For example, according to one agency estimate based
on National Hydrography Dataset figures, approximately 52% of streams across the country are
intermittent. Public Comments of Sierra Club, et al. (April 15, 2019) at Ex. H, available at
https://www.regulations.gov/document?D=EPA-HQ-OW-2018-0149-11451.

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       Moreover, the harms to water quality in Oregon will be particularly pronounced, as more

than half of all waterways in the state are intermittent or ephemeral. See Public Comments of the

State of Oregon at 9 (April 15, 2019), available at https://www.regulations.gov/document?D=EP

A-HQ-OW-2018-0149-5412. In comments to the Agencies, Oregon has emphasized the

importance of retaining protections for intermittent tributaries because they are critical to the

water quality of downstream perennial waters and the recovery of endangered species, as well as

to the state’s important recreational, economic, and cultural interests in fish. See id. at 9-

10. Oregon has also identified particular interests in maintaining protections for vernal pool

wetlands, seasonal meadows and playas, and the remaining wetlands of the Klamath Basin

because these waters support the threatened vernal pool fairy shrimp, Greater Sage-Grouse, and

one of the largest concentrations of waterfowl in North America, respectively. Id. at 7-8.

       B.      The Preliminary Injunction is not in the Public’s Interest Because the Public
               Interest is in Protecting Public Water Resources.

       All citizens of Oregon, indeed all citizens of the nation, depend on and are entitled to

clean and healthy waters for a multitude of uses. The Powder, Snake, and Columbia rivers are

resources for irrigation and drinking water; for salmon and commercial, recreational and

subsistence fishing; for wildlife and livestock watering; and for all the other uses humans put

waters to. It is this underlying public resource value that makes the protections in the CWA so

fundamental and important. Even if Cattlemen had provided the Court with any evidence of

harm, which they did not, when weighed against the identified and significant harms to Oregon

waters, the scale plainly tips toward a protective approach for the good of the public as a whole.

       In addition, the Ninth Circuit has directed that the public interest strongly favors

preventing, not fostering, environmental harm. Southeast Alaska Conserv. Council v. U.S. Army


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Corps of Engineers, 472 F.3d 1097, 1101 (9th Cir. 2006). Courts in this Circuit repeatedly find

that protecting against environmental harm, including protecting water from pollution,

profoundly outweighs financial interest or harm, even if the public has a stake in the financial

interest. See Oregon State Public Interest Res. Grp. v. Pacific Coast Seafoods Co., 374 F. Supp.

2d 902, 908 (D. Or. 2005); Idaho Conserv. League v. Atlanta Gold Corp., 879 F. Supp. 2d 1148,

1162 (D. Id. 2012). Thus, even if Cattlemen’s members have a financial interest in polluting or

destroying waters without permits, which they have not demonstrated, that interest would be

profoundly outweighed by the potential harm to those waters and to downstream waters.

                                          CONCLUSION

       Cattlemen’s motion, which seeks an extraordinary form of mandatory preliminary

injunctive relief, fails to demonstrate a likelihood of success on the merits or irreparable harm to

Cattlemen, and would lead to the unpermitted pollution or destruction of untold numbers of

Oregon waters that are relied upon by the public. Columbia Riverkeeper respectfully requests

that this Court deny Cattlemen’s motion for a preliminary injunction.



       Respectfully submitted this 6th day of July, 2020.


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                              CERTIFICATE OF COMPLIANCE

        This brief complies with the applicable word-count limitation under LR 7-2(b), 26-3(b),

54-1(c), or 54-3(e) because it contains 9,397 words, including headings, footnotes, and

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                                              /s/ Anna M. Sewell
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                                     CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2020, I electronically filed the foregoing document with

the Clerk of the Court using the CM/ECF system, which will send notification of this filing to the

attorneys of record and all registered participants.



                                               /s/ Anna M. Sewell
                                               Anna M. Sewell




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